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                                        ATTACHMENT         A

                                   STIPULATION       OF FACTS

         The undersigned parties stipulate and agree that it this case I/(Id proceeded to trial, this
G.tlice would have prcJ\'en thefol/oll'ing.fCtcts heyond a reasonable douht. The undersigned parties
also stipulate and agree that tlie/ill/owing facts do //Ot encompass 01/ (it the evidence that lI'ould
have been presented I/(Id this matter proceeded to trial.                     .

        At all relevant times, the victim ("V -I") was a research entomologist for the Depal1ment
of Agriculture, assigned to the Beltsville Agricultural Research Center ("BARC") located in
Beltsville, Maryland, The Defendant, KAMLESH CHAUHAN ("CHAUHAN")                       was also a
research entomologist at the same facility. Some time after they both started working at BARC in
2001, V-I and CHAUHAN began working together, and CHAUHAN became the V-I's
supervisor.

        On multiple occasions, CHA UHAN kissed V-I without V-I 's consent, sometimes asking
V-I to come into his office and sometimes committing the actions in a laboratory. At other times,
CHAUHAN kissed V-I 's breast, placed his hand beneath V-I 's clothing, and pushed V-I against
a wall where he kissed V-Ion        the face, all without V-I's consent.     V-I repeatedly told
CHAUl-IAN that V-I did not want to have any such contact with him.

        On March 30, 2018, V-I was in CHAUHAN's office. CHAUHAN told V-I to stand up
for a hug and tried to kiss V-I. CHAUHAN touched V-l's right breast and tried to remove V-
I's shirt. V-I pulled the shirt back down and left.

       BARC is located on lands within the special maritime and territorial jurisdiction        of the
United States.


       SO STIPULATED:                                                                       \




                                              ~Ka~
                                                amlesh Chauhan                    -
                                               Defendant



                                                      . Nathans, Esq.
                                                ounsel for Defendant
